
PER CURIAM.
Granted. Because the trial court failed to completely decide the admissibility of defendants’ expert evidence under Daubert v. Merrill Dow Pharmaceuticals, 509 U.S. 579, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993), and State v. Foret, 628 So.2d 1116 (La.1993), the court was premature in reaching plaintiffs’ motion for partial summary judgment. See Independent Fire Ins. v. Sunbeam Corp., 99-2181 (La.2/29/00), 755 So.2d 226.
Accordingly, the judgment of the court of appeal is vacated and set aside. The case is remanded to the trial court to decide the admissibility of defendants’ expert evidence under Daubert/Foret and to decide plaintiffs’ motion for partial summary judgment, following the standards set forth in Independent Fire.
KIMBALL, JOHNSON and TRAYLOR, JJ., would deny the writ.
